           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:07CR106

UNITED STATES OF AMERICA,                             )
                                                      )
Vs.                                                   )        ORDER
                                                      )
JAMES OTIS HENDERSON.                                 )
__________________________________                    )

        THIS MATTER is before the court on Michelle Rippon’s Motion for

Admission Pro Hac Vice of William A. Coates. Having considered Michelle Rippon

motion and reviewed the pleadings, and it appearing that Mr. Coates is a member in

good standing with the South Carolina Bar, that he has or will establish an ECF

account immediately, that he will appear with a member in good standing with the

Bar of this court Michelle Rippon, and that he has paid the required admission fees,

the court enters the following Order.

                                        ORDER

        IT IS, THEREFORE, ORDERED that Michelle Rippon Motion for

Admission Pro Hac Vice of William A. Coates (#174 is GRANTED, and Mr. Coates

is admitted to practice before the Bar of this court while appearing with Michelle

Rippon.

        The Clerk of this court is respectfully instructed to include the undersigned as

the referral judge as such has been directed by the district court.


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                                     Signed: September 22, 2009




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